                                                                                                                                          Case 8:23-cv-00095-DOC-KES Document 37 Filed 05/15/23 Page 1 of 4 Page ID #:181



                                                                                                                                                   1 William J. Brucker (SBN 152,551)
                                                                                                                                                     Shunsuke S. Sumitani (SBN 241,056)
                                                                                                                                                   2
                                                                                                                                                     Gregory K. Clarkson (SBN 298,712)
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                                                                                                                                                   9 Attorneys for Defendant,
                                                                                                                                                  10 Boss Innovation and Marketing, Inc.
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                                                             ALISO VIEJO, CALIFORNIA 92656
                                  75 ENTERPRISE, SUITE 250




                                                                                                                                                                            IN THE UNITED STATES DISTRICT COURT
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                                                                                                                                                                         FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                                                                                                                                  13
                                                                                                                                                                                           SOUTHERN DIVISION
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                                                                                                                                                  15 Protective Industrial Products, Inc.,                  Case No. 8:23-cv-00095-DOC-KES
                                                                                                                                                  16
                                                                                                                                                                  Plaintiff,                                JOINT NOTICE OF SETTLEMENT
                                                                                                                                                  17                                                        IN PRINCIPLE UNDER LOCAL
                                                                                                                                                               v.                                           RULE 40-2 AND STIPULATION TO
                                                                                                                                                  18
                                                                                                                                                                                                            STAY FUTURE DEADLINES
                                                                                                                                                  19 Boss Innovation and Marketing, Inc.,
                                                                                                                                                  20
                                                                                                                                                     Defendant.
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                                                                                                                                                             Plaintiff Protective Industrial Products, Inc. (“Plaintiff”) and Defendant Boss
                                                                                                                                                  23
                                                                                                                                                       Innovation and Marketing, Inc. (“Defendant”) have reached an agreement in principle
                                                                                                                                                  24
                                                                                                                                                       on settlement terms and so notify this Court pursuant to Local Rule 40-2 and Section
                                                                                                                                                  25
                                                                                                                                                       VII of the Court’s Initial Standing Order [Doc. 20]. The parties are in the process of
                                                                                                                                                  26
                                                                                                                                                       preparing a settlement agreement and executing the necessary documents to complete
                                                                                                                                                  27
                                                                                                                                                       such settlement. The parties stipulate that they intend to file a formal Joint Dismissal
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                                                                                                                                                  30         Case No. 8:23-cv-00095-DOC-KES                   1
                                                                                                                                                             JOINT NOTICE OF SETTLEMENT IN PRINCIPLE UNDER LOCAL RULE 40-2 AND STIPULATION TO STAY FUTURE
                                                                                                                                                             DEADLINES
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                                                                                                                                          Case 8:23-cv-00095-DOC-KES Document 37 Filed 05/15/23 Page 2 of 4 Page ID #:182



                                                                                                                                                   1 with this Court within thirty (30) days.
                                                                                                                                                   2         Accordingly, in light of the parties’ pending settlement, the parties hereby
                                                                                                                                                   3 request through their respective counsel of record that this Court stay future deadlines
                                                                                                                                                   4 in this action for thirty (30) days. The purpose of the stay is to allow the parties to
                                                                                                                                                   5 finalize and execute the settlement agreement. Should settlement not be finalized by
                                                                                                                                                   6 this time, the parties request that this Court proceed forward with the current deadlines
                                                                                                                                                   7 in this matter.
                                                                                                                                                   8                                              Respectfully submitted,
                                                                                                                                                   9
                                                                                                                                                       Dated: May 15, 2023                        STETINA BRUNDA GARRED & BRUCKER
                                                                                             PHONE: (949) 855 -1246; FACSIMILE: (949) 855 -6371




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STETINA BRUNDA GARRED & BRUCKER




                                                                                                                                                  11                                              By: /s/Gregory K. Clarkson
                                                             ALISO VIEJO, CALIFORNIA 92656




                                                                                                                                                                                                      William J. Brucker
                                  75 ENTERPRISE, SUITE 250




                                                                                                                                                  12                                                  Shunsuke S. Sumitani
                                                                                                                                                  13                                                  Gregory K. Clarkson

                                                                                                                                                  14                                                   Attorneys for Defendant
                                                                                                                                                  15                                                   Boss Innovation and Marketing, Inc.

                                                                                                                                                  16   Dated: May 15, 2023                        MOLOLAMKEN LLP
                                                                                                                                                  17
                                                                                                                                                                                                  By: /s/Benoit Quarmby
                                                                                                                                                  18
                                                                                                                                                  19                                                   Benoit Quarmby
                                                                                                                                                                                                       Jonathan E. Barbee
                                                                                                                                                  20                                                   Catherine Martinez
                                                                                                                                                  21
                                                                                                                                                                                                       Attorneys for Plaintiff,
                                                                                                                                                  22                                                   Protective Industrial Products, Inc.
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                                                                                                                                                   1                ATTESTATION PURSUANT TO LOCAL RULE 5-4.3.4
                                                                                                                                                   2        Pursuant to Local Rule 5-4.3.4(a)(2)(i), I attest that all other signatories listed,
                                                                                                                                                   3 and on whose behalf the filing is submitted, concur in the filing’s contents and have
                                                                                                                                                   4 authorized the filing.
                                                                                                                                                   5
                                                                                                                                                   6                                                /s/Gregory K. Clarkson
                                                                                                                                                   7                                                Gregory K. Clarkson

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                                                                                                                                                   1                                CERTIFICATE OF SERVICE
                                                                                                                                                   2        The undersigned hereby certifies that all counsel of record who are deemed to
                                                                                                                                                   3 have consented to electronic service are being served with this document via the
                                                                                                                                                   4 Court’s CM/ECF system on May 15, 2023.
                                                                                                                                                   5
                                                                                                                                                   6                                               /s/Gregory K. Clarkson
                                                                                                                                                   7                                               Gregory K. Clarkson

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